                                                                                                                               11/24/2010 03:42:16pm
B6A (Official Form 6A) (12/07)



In re Terry Drake                                                          Case No.                         10-23587
      Amy Drake                                                                                                   (if known)



                                      SCHEDULE A - REAL PROPERTY


                                                                                                               Current Value




                                                                                    Husband, Wife, Joint,
                                                                                                                of Debtor's
                    Description and                       Nature of Debtor's




                                                                                      or Community
                                                                                                                 Interest in
                      Location of                        Interest in Property
                                                                                                             Property, Without      Amount Of
                       Property                                                                                                    Secured Claim
                                                                                                              Deducting Any
                                                                                                              Secured Claim
                                                                                                               or Exemption


 Former Residence                                   Fee Simple                         C                          $187,000.00         $221,333.82
 2110 25th AVe SE
 Puyallup, WA 98374




                                                                                Total:                            $187,000.00
                                                                                (Report also on Summary of Schedules)




          Case 10-23587-MLB           Doc 13   Filed 11/24/10     Ent. 11/24/10 15:44:46                                 Pg. 1 of 33
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B6B (Official Form 6B) (12/07)




In re Terry Drake                                                                          Case No.     10-23587
      Amy Drake                                                                                                (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                                     Husband, Wife, Joint,
                                                                                                                                             Current Value of
                                                                                                                                             Debtor's Interest




                                                                                                                       or Community
                                                                                                                                                in Property,

             Type of Property             None                   Description and Location of Property
                                                                                                                                             Without Deducting
                                                                                                                                               any Secured
                                                                                                                                                  Claim or
                                                                                                                                                 Exemption

1. Cash on hand.                                 Cash on Hand                                                              C                          $10.00


2. Checking, savings or other finan-             USAA                                                                      C                          $42.00
cial accounts, certificates of deposit           Checking Account
or shares in banks, savings and loan,            Acct# xxxxx8572
thrift, building and loan, and home-
stead associations, or credit unions,            USAA                                                                      C                           $0.00
brokerage houses, or cooperatives.               Savings Account
                                                 Acct# xxxxx8572

                                                 Key Checking                                                              C                           $5.00
                                                 Acct# xxxxx1500

                                                 Key Checking Account                                                      C                          $12.00
                                                 Acct# xxxx5552

                                                 Key Savings Account                                                       C                           $0.00
                                                 Acct# xxxx5552

                                                 Checking Account                                                          C                           $0.00
                                                 Acct# xxxxx6997



3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              Household Goods and Furnishings                                           C                       $2,775.00
including audio, video and computer
equipment.

5. Books; pictures and other art                 Books, Movies                                                             C                         $250.00
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              Clothing                                                                  C                         $400.00




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B6B (Official Form 6B) (12/07) -- Cont.




In re Terry Drake                                                                          Case No.     10-23587
      Amy Drake                                                                                                (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                           Continuation Sheet No. 1




                                                                                                                     Husband, Wife, Joint,
                                                                                                                                             Current Value of
                                                                                                                                             Debtor's Interest




                                                                                                                       or Community
                                                                                                                                                in Property,

             Type of Property              None                  Description and Location of Property
                                                                                                                                             Without Deducting
                                                                                                                                               any Secured
                                                                                                                                                  Claim or
                                                                                                                                                 Exemption


7. Furs and jewelry.                              Wedding Ring                                                             C                       $1,500.00


8. Firearms and sports, photo-                    Kayak, Camping Equipment                                                 C                           $0.00
graphic, and other hobby equipment.

9. Interests in insurance policies.        X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name            X
each issuer.

11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,        X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint     X
ventures. Itemize.

15. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.




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B6B (Official Form 6B) (12/07) -- Cont.




In re Terry Drake                                                                         Case No.     10-23587
      Amy Drake                                                                                               (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 2




                                                                                                                    Husband, Wife, Joint,
                                                                                                                                            Current Value of
                                                                                                                                            Debtor's Interest




                                                                                                                      or Community
                                                                                                                                               in Property,

             Type of Property               None                Description and Location of Property
                                                                                                                                            Without Deducting
                                                                                                                                              any Secured
                                                                                                                                                 Claim or
                                                                                                                                                Exemption


16. Accounts receivable.                    X

17. Alimony, maintenance, support,          X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to                 Projected 2010 Tax Refund                                              C                       $4,000.00
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.




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B6B (Official Form 6B) (12/07) -- Cont.




In re Terry Drake                                                                        Case No.     10-23587
      Amy Drake                                                                                              (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                           Continuation Sheet No. 3




                                                                                                                   Husband, Wife, Joint,
                                                                                                                                           Current Value of
                                                                                                                                           Debtor's Interest




                                                                                                                     or Community
                                                                                                                                              in Property,

             Type of Property              None                Description and Location of Property
                                                                                                                                           Without Deducting
                                                                                                                                             any Secured
                                                                                                                                                Claim or
                                                                                                                                               Exemption


24. Customer lists or other compilations   X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                1990 Honda Civic Hatchback                                             C                       $1,100.00
and other vehicles and accessories.
                                                  2006 Ford Escape                                                       C                      $11,000.00


26. Boats, motors, and accessories.        X

27. Aircraft and accessories.              X

28. Office equipment, furnishings,         X
and supplies.

29. Machinery, fixtures, equipment,        X
and supplies used in business.

30. Inventory.                             X

31. Animals.                               X

32. Crops - growing or harvested.          X
Give particulars.

33. Farming equipment and                  X
implements.

34. Farm supplies, chemicals, and          X
feed.




            Case 10-23587-MLB              Doc 13         Filed 11/24/10          Ent. 11/24/10 15:44:46          Pg. 5 of 33
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B6B (Official Form 6B) (12/07) -- Cont.




In re Terry Drake                                                                             Case No.     10-23587
      Amy Drake                                                                                                   (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 4




                                                                                                                         Husband, Wife, Joint,
                                                                                                                                                 Current Value of
                                                                                                                                                 Debtor's Interest




                                                                                                                           or Community
                                                                                                                                                    in Property,

             Type of Property                 None               Description and Location of Property
                                                                                                                                                 Without Deducting
                                                                                                                                                   any Secured
                                                                                                                                                      Claim or
                                                                                                                                                     Exemption


35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          4           continuation sheets attached   Total >                          $21,094.00
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)




            Case 10-23587-MLB                 Doc 13        Filed 11/24/10           Ent. 11/24/10 15:44:46              Pg. 6 of 33
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B6C (Official Form 6C) (4/10)



In re Terry Drake                                                                                 Case No.   10-23587
      Amy Drake                                                                                                     (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:               ¨    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $146,450.*

 þ    11 U.S.C. § 522(b)(2)
 ¨    11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                 Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                            Exemption
                                                                                                                                     Exemption



 Cash on Hand                                             11 U.S.C. § 522(d)(5)                                     $10.00                   $10.00

 USAA                                                     11 U.S.C. § 522(d)(5)                                     $42.00                   $42.00
 Checking Account
 Acct# xxxxx8572

 USAA                                                     11 U.S.C. § 522(d)(5)                                      $0.00                      $0.00
 Savings Account
 Acct# xxxxx8572

 Key Checking                                             11 U.S.C. § 522(d)(5)                                      $5.00                      $5.00
 Acct# xxxxx1500

 Key Checking Account                                     11 U.S.C. § 522(d)(5)                                     $12.00                   $12.00
 Acct# xxxx5552

 Key Savings Account                                      11 U.S.C. § 522(d)(5)                                      $0.00                      $0.00
 Acct# xxxx5552

 Checking Account                                         11 U.S.C. § 522(d)(5)                                      $0.00                      $0.00
 Acct# xxxxx6997

 Household Goods and Furnishings                          11 U.S.C. § 522(d)(3)                                  $2,775.00                $2,775.00

 Books, Movies                                            11 U.S.C. § 522(d)(3)                                    $250.00                  $250.00

 Clothing                                                 11 U.S.C. § 522(d)(3)                                    $400.00                  $400.00




* Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                                 $3,494.00                $3,494.00




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B6C (Official Form 6C) (4/10) -- Cont.



In re Terry Drake                                                                      Case No.   10-23587
      Amy Drake                                                                                          (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                         Continuation Sheet No. 1



                                                                                                                           Current
                                                                                                                      Value of Property
                                                          Specify Law Providing Each          Value of Claimed        Without Deducting
              Description of Property
                                                                   Exemption                     Exemption                Exemption



 Wedding Ring                                         11 U.S.C. § 522(d)(4)                           $1,500.00                $1,500.00

                                                      11 U.S.C. § 522(d)(5)                               $0.00

 Kayak, Camping Equipment                             11 U.S.C. § 522(d)(3)                               $0.00                    $0.00

 Projected 2010 Tax Refund                            11 U.S.C. § 522(d)(5)                           $4,000.00                $4,000.00

 1990 Honda Civic Hatchback                           11 U.S.C. § 522(d)(2)                           $1,100.00                $1,100.00

 2006 Ford Escape                                     11 U.S.C. § 522(d)(2)                               $0.00              $11,000.00




                                                                                                     $10,094.00              $21,094.00




            Case 10-23587-MLB                Doc 13     Filed 11/24/10          Ent. 11/24/10 15:44:46        Pg. 8 of 33
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B6D (Official Form 6D) (12/07)
          In re Terry Drake                                                                                            Case No. 10-23587
                 Amy Drake                                                                                                                          (if known)



                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                         ¨    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                  AMOUNT OF         UNSECURED




                                                                                                                                UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                    CLAIM           PORTION, IF




                                                                                                                                 CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                  DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                    WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                  DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                      VALUE OF
                                                                                             PROPERTY SUBJECT                                  COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:
ACCT #: xxxxxx3623                                                                NATURE OF LIEN:
                                                                                  1st Deed of Trust
Navy Federal Credit Union                                                         COLLATERAL:
                                                                                  Residence                                                     $221,333.82         $34,333.82
PO Box 3300                                                   C                   REMARKS:
Merrifield, VA 22119-3300



                                                                                  VALUE:                         $187,000.00
                                                                                  DATE INCURRED:
ACCT #: xxxxxx3272                                                                NATURE OF LIEN:
                                                                                  Car Loan
USAA                                                                              COLLATERAL:
                                                                                  2006 Ford Escape                                                $13,609.14          $2,609.14
10750 McDermott Freeway                                       C                   REMARKS:
San Antonio, TX 78288-0698



                                                                                  VALUE:                          $11,000.00




                                                                                                       Subtotal (Total of this Page) >            $234,942.96         $36,942.96
                                                                                                      Total (Use only on last page) >             $234,942.96          $36,942.96
________________continuation
       No                    sheets attached                                                                                                   (Report also on   (If applicable,
                                                                                                                                               Summary of        report also on
                                                                                                                                               Schedules.)       Statistical
                                                                                                                                                                 Summary of
                                                                                                                                                                 Certain Liabilities
                                                                                                                                                                 and Related
                                                                                                                                                                 Data.)




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B6E (Official Form 6E) (04/10)

In re Terry Drake                                                                                 Case No.        10-23587
      Amy Drake                                                                                                           (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

þ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

¨   Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).


¨   Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

¨   Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).


¨   Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


¨   Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


¨   Deposits by individuals
    Claims of individuals up to $2,600* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


¨   Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


¨   Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).


¨   Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


¨   Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       No                    sheets attached




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B6F (Official Form 6F) (12/07)
  In re Terry Drake                                                                                             Case No. 10-23587
           Amy Drake                                                                                                         (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
¨   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                               HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                      DATE CLAIM WAS                                   AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                MAILING ADDRESS                                                                        INCURRED AND                                      CLAIM




                                                                                                                                     CONTINGENT
                                                                 OR COMMUNITY
                                                    CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                   CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                             CLAIM.
             (See instructions above.)                                                            IF CLAIM IS SUBJECT TO
                                                                                                     SETOFF, SO STATE.


ACCT #:                                                                                DATE INCURRED:
                                                                                       CONSIDERATION:
Charles L. Swenson                                                                     Personal Loan                                                       $67,000.00
18464 11th Ave NE                                                                      REMARKS:
                                                                 C
Poulsbo, WA 98370



ACCT #: xxxx-xxxx-xxxx-4673                                                            DATE INCURRED:
                                                                                       CONSIDERATION:
Citibank Cards                                                                         Credit Card                                                          $1,708.14
POB 6000                                                                               REMARKS:
                                                                 C
The Lakes, NV 8916.-6000



ACCT #: xxxxxxxx3581                                                                   DATE INCURRED:
                                                                                       CONSIDERATION:
Macys                                                                                  Credit Card                                                          $2,581.91
PO Box 8053                                                                            REMARKS:
                                                                 C
Mason, OH 45040



ACCT #: xxxx-xxxx-xxxx-8821                                                            DATE INCURRED:
                                                                                       CONSIDERATION:
Navy Credit Union                                                                      Credit Card                                                          $8,210.81
PO Box 3502                                                                            REMARKS:
                                                                 C
Merrifield, VA 22119-3100



ACCT #: xxxxxx1701                                                                     DATE INCURRED:
                                                                                       CONSIDERATION:
Navy Credit Union                                                                      Line of Credit                                                       $7,500.00
PO Box 3502                                                                            REMARKS:
                                                                 C
Merrifield, VA 22119-3100



ACCT #: 5618                                                                           DATE INCURRED:
                                                                                       CONSIDERATION:
Navy Credit Union                                                                      Credit Card                                                          $5,825.92
PO Box 3502                                                                            REMARKS:
                                                                 C
Merrifield, VA 22119-3100



                                                                                                                                Subtotal >                  $92,826.78

                                                                                                                         Total >
                                                                           (Use only on last page of the completed Schedule F.)
________________continuation
       1                     sheets attached                   (Report also on Summary of Schedules and, if applicable, on the
                                                                   Statistical Summary of Certain Liabilities and Related Data.)




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B6F (Official Form 6F) (12/07) - Cont.
  In re Terry Drake                                                                                                Case No. 10-23587
           Amy Drake                                                                                                            (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                   AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                      CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 0249                                                                              DATE INCURRED:
                                                                                          CONSIDERATION:
USAA                                                                                      Credit Card                                                          $3,050.22
PO Box 65020                                                                              REMARKS:
                                                                    C
San Antonio, TX 78265-5020




Sheet no. __________
              1        of __________
                               1     continuation sheets attached to                                                               Subtotal >                   $3,050.22
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                            $95,877.00
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)




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B6G (Official Form 6G) (12/07)
   In re Terry Drake                                                                    Case No.     10-23587
         Amy Drake                                                                                      (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


¨ Check this box if debtor has no executory contracts or unexpired leases.
                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.




   AT&T Wireless                                                         Cell Phone
   PO Box 68056                                                          Contract to be ASSUMED
   Anaheim Hills, CA 92817-8056




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B6H (Official Form 6H) (12/07)
In re Terry Drake                                                                                  Case No.      10-23587
      Amy Drake                                                                                                         (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

þ Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR




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B6I (Official Form 6I) (12/07)
In re Terry Drake                                                                                Case No.     10-23587
      Amy Drake                                                                                                    (if known)



                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on
this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
 Debtor's Marital Status:                                             Dependents of Debtor and Spouse
                                 Relationship(s): Son             Age(s): 3           Relationship(s):                            Age(s):
          Married




 Employment:                      Debtor                                                     Spouse
 Occupation                      Ramp Tower Controller                                      Housewife
 Name of Employer                RVA Inc.
 How Long Employed               2 years
 Address of Employer             Seatac, WA



INCOME: (Estimate of average or projected monthly income at time case filed)                                     DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                                   $5,043.63                     $0.00
2. Estimate monthly overtime                                                                                        $0.00                     $0.00
3. SUBTOTAL                                                                                                     $5,043.63                       $0.00
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                  $296.62                       $0.00
   b. Social Security Tax                                                                                         $385.84                       $0.00
   c. Medicare                                                                                                      $0.00                       $0.00
   d. Insurance                                                                                                    $53.08                       $0.00
   e. Union dues                                                                                                    $0.00                       $0.00
   f. Retirement                                                                                                    $0.00                       $0.00
   g. Other (Specify)                                                                                               $0.00                       $0.00
   h. Other (Specify)                                                                                               $0.00                       $0.00
   i. Other (Specify)                                                                                               $0.00                       $0.00
   j. Other (Specify)                                                                                               $0.00                       $0.00
   k. Other (Specify)                                                                                               $0.00                       $0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                 $735.54                       $0.00
6.    TOTAL NET MONTHLY TAKE HOME PAY                                                                           $4,308.09                       $0.00
7.  Regular income from operation of business or profession or farm (Attach detailed stmt)                           $0.00                      $0.00
8.  Income from real property                                                                                        $0.00                      $0.00
9.  Interest and dividends                                                                                           $0.00                      $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or                           $0.00                      $0.00
    that of dependents listed above
11. Social security or government assistance (Specify):
                                                                                                                     $0.00                      $0.00
12. Pension or retirement income                                                                                     $0.00                      $0.00
13. Other monthly income (Specify):
      a. Disability Payments                                                                                      $453.00                       $0.00
      b.                                                                                                            $0.00                       $0.00
      c.                                                                                                            $0.00                       $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                $453.00                       $0.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                $4,761.09                       $0.00
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                                  $4,761.09
                                                                       (Report also on Summary of Schedules and, if applicable,
                                                                       on Statistical Summary of Certain Liabilities and Related Data)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
Debtor Husband is going into inactive reserves and will not receive any pay from the Reserves going forward.
The Debtor wife worked only a couple of days at REI before moving and is currently a housewife




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B6J (Official Form 6J) (12/07)
  IN RE: Terry Drake                                                                            Case No.     10-23587
             Amy Drake                                                                                            (if known)



                    SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
¨
    labeled "Spouse."


 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                     $1,550.00
    a. Are real estate taxes included?        ¨ Yes      þ No
    b. Is property insurance included?        ¨ Yes      þ No
 2. Utilities: a. Electricity and heating fuel                                                                                               $100.00
               b. Water and sewer                                                                                                             $70.00
               c. Telephone
               d. Other: Cell phone                                                                                                          $110.00
 3. Home maintenance (repairs and upkeep)                                                                                                    $100.00
 4. Food                                                                                                                                     $700.00
 5. Clothing                                                                                                                                 $100.00
 6. Laundry and dry cleaning                                                                                                                  $50.00
 7. Medical and dental expenses                                                                                                              $150.00
 8. Transportation (not including car payments)                                                                                              $375.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                         $200.00
 10. Charitable contributions
 11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renter's                                                                                                         $30.00
           b. Life
           c. Health                                                                                                                         $350.00
           d. Auto                                                                                                                            $75.00
           e. Other:
 12. Taxes (not deducted from wages or included in home mortgage payments)
 Specify:
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
             a. Auto:
             b. Other: Pre-School                                                                                                            $150.00
             c. Other: Misc Personal Expenses                                                                                                $350.00
             d. Other: Public Transportation                                                                                                 $100.00
 14. Alimony, maintenance, and support paid to others:
 15. Payments for support of add'l dependents not living at your home:
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
 17.a. Other: Cable/ Internet                                                                                                                 $75.00
 17.b. Other: Garbage                                                                                                                         $40.00
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
                                                                                                                                $4,675.00
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
 document: Debtors will be buying healthcare separately for Debtor Wife and child.


 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                                                     $4,761.09
 b. Average monthly expenses from Line 18 above                                                                                           $4,675.00
 c. Monthly net income (a. minus b.)                                                                                                         $86.09




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B6 Summary (Official Form 6 - Summary) (12/07)
                                             UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF WASHINGTON
                                                     SEATTLE DIVISION
   In re Terry Drake                                                                 Case No.     10-23587
         Amy Drake
                                                                                     Chapter      7



                                                       SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                               Yes      1                 $187,000.00


 B - Personal Property                           Yes      5                  $21,094.00


 C - Property Claimed                            Yes      2
     as Exempt
 D - Creditors Holding                           Yes      1                                           $234,942.96
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                             Yes      1                                                 $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                 Yes      2                                            $95,877.00
     Nonpriority Claims
 G - Executory Contracts and                     Yes      1
    Unexpired Leases

 H - Codebtors                                   Yes      1


 I - Current Income of                           Yes      1                                                                  $4,761.09
     Individual Debtor(s)

 J - Current Expenditures of                     Yes      1                                                                  $4,675.00
    Individual Debtor(s)

                                             TOTAL        16                $208,094.00               $330,819.96




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Form 6 - Statistical Summary (12/07)
                                            UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF WASHINGTON
                                                    SEATTLE DIVISION
    In re Terry Drake                                                                 Case No.      10-23587
          Amy Drake
                                                                                      Chapter       7



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.


¨    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
     information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                          $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                              $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar                       $0.00
 Obligations (from Schedule F)

                                                            TOTAL                  $0.00

State the following:

 Average Income (from Schedule I, Line 16)                                     $4,761.09

 Average Expenses (from Schedule J, Line 18)                                   $4,675.00

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                $4,900.00

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                             $36,942.96

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                           $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                           $95,877.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $132,819.96




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B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Terry Drake                                                                      Case No.     10-23587
      Amy Drake                                                                                            (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                  18
sheets, and that they are true and correct to the best of my knowledge, information, and belief.



Date 11/24/2010                                              Signature    /s/ Terry Drake
                                                                         Terry Drake

Date 11/24/2010                                              Signature     /s/ Amy Drake
                                                                          Amy Drake
                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.

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                                                 WESTERN DISTRICT OF WASHINGTON
                                                          SEATTLE DIVISION
   In re:   Terry Drake                                                                              Case No.      10-23587
            Amy Drake                                                                                                     (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
 ¨     including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $53,637.00                  2006 - Approximate Gross Income

        $76,663.00                  2007 - Approximate Gross Income

        $58,772.00                  2008 - Approximate Gross Income

        $55,799.00                  2009 - Approximate Gross Income

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
 þ     two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
 þ     debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
 þ     preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
 ¨     who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS OF CREDITOR                                     DATE OF
        AND RELATIONSHIP TO DEBTOR                                       PAYMENT                 AMOUNT PAID             AMOUNT STILL OWING
        Charles L. Swenson                                               Monthly                 $5,036.28               $67,000.00
        18464 11th Ave NE                                                payment
        Poulsbo, WA 98370                                                $419.69 - paid
                                                                         via automatic
                                                                         withdrawal

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B7 (Official Form 7) (04/10) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF WASHINGTON
                                                         SEATTLE DIVISION
   In re:   Terry Drake                                                                            Case No.      10-23587
            Amy Drake                                                                                                   (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1

                                                                       every month to
                                                                       parents.

       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
 þ     bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
 þ     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
 þ     to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
 þ     (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
 þ     gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
 ¨     consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR               AND VALUE OF PROPERTY
        Seattle Debt Law, LLC                                         11/5/2010                       $1800
        705 Second Ave, Suite 1050
        Seattle, WA 98104


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                                                         SEATTLE DIVISION
   In re:   Terry Drake                                                                            Case No.      10-23587
            Amy Drake                                                                                                   (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
 þ     either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.
 þ
       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
 þ     transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
 þ     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
 þ     case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
 þ
       15. Prior address of debtor
None
       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied
 þ     during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
 þ     Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.




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                                                 WESTERN DISTRICT OF WASHINGTON
                                                          SEATTLE DIVISION
   In re:   Terry Drake                                                                             Case No.      10-23587
            Amy Drake                                                                                                    (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
 þ     potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
 þ     Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
 þ     or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
 þ     dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
 þ




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                                                 WESTERN DISTRICT OF WASHINGTON
                                                          SEATTLE DIVISION
   In re:   Terry Drake                                                                               Case No.       10-23587
            Amy Drake                                                                                                       (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
       more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or
       self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the
 þ     keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account
 þ     and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
 þ     debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
 þ     the debtor within two years immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
 þ     dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
 þ

       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
 þ

None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
 þ     holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
 þ     of this case.


None
       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
 þ     preceding the commencement of this case.




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                                                                                                                                         11/24/2010 03:42:18pm
B7 (Official Form 7) (04/10) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                 WESTERN DISTRICT OF WASHINGTON
                                                          SEATTLE DIVISION
   In re:   Terry Drake                                                                               Case No.      10-23587
            Amy Drake                                                                                                      (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 5



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
 þ     bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
       case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
 þ     purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
 þ     has been responsible for contributing at any time within six years immediately preceding the commencement of the case.



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 11/24/2010                                                         Signature          /s/ Terry Drake
                                                                        of Debtor          Terry Drake

Date 11/24/2010                                                         Signature       /s/ Amy Drake
                                                                        of Joint Debtor Amy Drake
                                                                        (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571




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                                                                                                                     11/24/2010 03:42:19pm
  B 8 (Official Form 8) (12/08)

                                                 UNITED STATES BANKRUPTCY COURT
                                                 WESTERN DISTRICT OF WASHINGTON
                                                         SEATTLE DIVISION
  IN RE:    Terry Drake                                                                  CASE NO      10-23587
            Amy Drake
                                                                                         CHAPTER      7

                       CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A -- Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate Attach additional pages if necessary.)


 Property No.   1

 Creditor's Name:                                                            Describe Property Securing Debt:
 Navy Federal Credit Union                                                   Residence
 PO Box 3300
 Merrifield, VA 22119-3300
 xxxxxx3623




 Property will be (check one):
    þ Surrendered                 ¨   Retained

 If retaining the property, I intend to (check at least one):
      ¨ Redeem the property
      ¨ Reaffirm the debt
      ¨ Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):



 Property is (check one):
    ¨ Claimed as exempt               þ   Not claimed as exempt


 Property No.   2

 Creditor's Name:                                                            Describe Property Securing Debt:
 USAA                                                                        2006 Ford Escape
 10750 McDermott Freeway
 San Antonio, TX 78288-0698
 xxxxxx3272




 Property will be (check one):
    þ Surrendered                 ¨   Retained

 If retaining the property, I intend to (check at least one):
      ¨ Redeem the property
      ¨ Reaffirm the debt
      ¨ Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):



 Property is (check one):
    ¨ Claimed as exempt               þ   Not claimed as exempt


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  B 8 (Official Form 8) (12/08)

                                        UNITED STATES BANKRUPTCY COURT
                                        WESTERN DISTRICT OF WASHINGTON
                                                SEATTLE DIVISION
  IN RE:    Terry Drake                                                              CASE NO     10-23587
            Amy Drake
                                                                                     CHAPTER     7

                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                       Continuation Sheet No. 1

PART B -- Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)


 Property No.     1
 Lessor's Name:                                       Describe Leased Property:                      Lease will be Assumed pursuant to
 AT&T Wireless                                        Cell Phone                                     11 U.S.C. § 365(p)(2):
 PO Box 68056
 Anaheim Hills, CA 92817-8056                                                                        YES   þ          NO   ¨




I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.



Date 11/24/2010                                             Signature    /s/ Terry Drake
                                                                        Terry Drake




Date 11/24/2010                                             Signature    /s/ Amy Drake
                                                                        Amy Drake




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B 201B (Form 201B) (12/09)              UNITED STATES BANKRUPTCY COURT
                                        WESTERN DISTRICT OF WASHINGTON
                                                SEATTLE DIVISION
In re Terry Drake                                                                         Case No.           10-23587
      Amy Drake
                                                                                          Chapter               7



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                  Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

Terry Drake                                                         X    /s/ Terry Drake                                   11/24/2010
Amy Drake                                                               Signature of Debtor                                Date
Printed Name(s) of Debtor(s)
                                                                    X    /s/ Amy Drake                                     11/24/2010
Case No. (if known)    10-23587                                         Signature of Joint Debtor (if any)                 Date

                         Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,             Christina Latta Henry                , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ Christina Latta Henry
Christina Latta Henry, Attorney for Debtor(s)
Bar No.: 31273
Seattle Debt Law, LLC
705 Second Ave. Suite 1050
Seattle, WA 98104
Phone: (206) 324-6677
Fax: (206) 447-0115
E-Mail: chenry@seattledebtlaw.com




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) ONLY if the certification has NOT
been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition
preparers on page 3 of Form B1 also include this certification.




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B 201A (Form 201A) (12/09)

WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under
Bankruptcy Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2.


                                          UNITED STATES BANKRUPTCY COURT

                             NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                      OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that you
receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a JOINT CASE (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of
each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.


1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on
or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator.
The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each
debtor in a joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should
be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.




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Form B 201A, Notice to Consumer Debtor(s)                                                                                             Page 2

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $39 administrative fee: Total fee $274)
Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over a
period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your
future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $39 administrative fee: Total fee $239)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.


Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




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                                           UNITED STATES BANKRUPTCY COURT
                                           WESTERN DISTRICT OF WASHINGTON
                                                   SEATTLE DIVISION
IN RE:     Terry Drake                                                                     CASE NO     10-23587
           Amy Drake
                                                                                           CHAPTER     7

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                    $2,200.00
     Prior to the filing of this statement I have received:                                          $2,200.00
     Balance Due:                                                                                          $0.00

2. The source of the compensation paid to me was:
             þ     Debtor                 ¨    Other (specify)

3. The source of compensation to be paid to me is:
             þ     Debtor                 ¨    Other (specify)

4.   þ   I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

     ¨   I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                        11/24/2010                            /s/ Christina Latta Henry
                           Date                               Christina Latta Henry                      Bar No. 31273
                                                              Seattle Debt Law, LLC
                                                              705 Second Ave. Suite 1050
                                                              Seattle, WA 98104
                                                              Phone: (206) 324-6677 / Fax: (206) 447-0115




      /s/ Terry Drake                                                      /s/ Amy Drake
     Terry Drake                                                          Amy Drake




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                                      UNITED STATES BANKRUPTCY COURT
                                      WESTERN DISTRICT OF WASHINGTON
                                              SEATTLE DIVISION
  IN RE:    Terry Drake                                                               CASE NO   10-23587
            Amy Drake
                                                                                   CHAPTER      7

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 11/24/2010                                          Signature    /s/ Terry Drake
                                                                     Terry Drake



Date 11/24/2010                                          Signature    /s/ Amy Drake
                                                                     Amy Drake




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                       AT&T Wireless
                       PO Box 68056
                       Anaheim Hills, CA 92817-8056



                       Charles L. Swenson
                       18464 11th Ave NE
                       Poulsbo, WA 98370



                       Citibank Cards
                       POB 6000
                       The Lakes, NV 8916.-6000



                       Internal Revenue Service
                       PO BOX 21125
                       PHILADELPHIA, PA 19114



                       Macys
                       PO Box 8053
                       Mason, OH 45040



                       Navy Credit Union
                       PO Box 3502
                       Merrifield, VA 22119-3100



                       Navy Federal Credit Union
                       PO Box 3300
                       Merrifield, VA 22119-3300



                       USAA
                       10750 McDermott Freeway
                       San Antonio, TX 78288-0698



                       USAA
                       PO Box 65020
                       San Antonio, TX 78265-5020




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